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Attorneys for Plaintiff and Counter-defendant Calista Enterprises Ltd.

                            UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON – PORTLAND DIVISION



CALISTA ENTERPRISES LTD.,                           Case No. 3:13-cv-01045-SI
a Republic of Seychelles company,
                                                    DECLARATION OF MATTHEW
   Plaintiff,                                       SHAYEFAR IN SUPPORT OF CALISTA
                                                    ENTERPRISES LTD.’S REPLY IN
- v. -                                              SUPPORT OF ITS MOTION FOR
                                                    SUMMARY JUDGMENT
TENZA TRADING LTD.,
a Cyprus company,

   Defendant.



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TENZA TRADING LTD.,
a Cyprus company,

   Counterclaim Plaintiff,

- v. -

CALISTA ENTERPRISES LTD.,
a Republic of Seychelles company, and
ALEXANDER ZHUKOV,
a Czechoslovakian citizen,

   Counterclaim Defendants.


I, Matthew Shayefar, declare as follows:

         1.    I am an attorney licensed to practice in the Commonwealth of Massachusetts and

the State of California and I am admitted to practice pro hac vice before this Court. I am an

attorney at Boston Law Group, PC, counsel of record for Plaintiff and Counter-defendant Calista

Enterprises Ltd. (“Calista”) in this action against Defendant and Counterclaimant Tenza Trading

Ltd. (“Tenza”). I have personal knowledge of the facts stated herein. If called upon to do so, I

could and would testify to the truth thereof.

         2.    Attached hereto as Exhibit 69 are copies of the Oxford English Dictionary entries

for “porn” and “tube.”

         3.    Attached hereto as Exhibit 70 are copies of the Merriam-Webster Online

Dictionary entries for “porn” and “tube.”

         4.    Attached hereto as Exhibit 71 are excerpts from the New Oxford American

Dictionary, including the entries for “porn” and “tube.”




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       5.      Attached hereto as Exhibit 72 are copies of the American Heritage Dictionary of

the English Language entries for “porn” and “tube.”

       6.      Attached hereto as Exhibit 73 are copies of the Cambridge Dictionaries Online

entries for “pornography” and “tube.”

       7.      Attached hereto as Exhibit 74 is a printout of the Wikipedia.org article for “Food

Porn” as accessed on July 22, 2014.

       8.      Attached hereto as Exhibit 75 is a screen capture of the porntube.com website

taken on July 22, 2014.

       9.      Attached hereto as Exhibit 76 is a screen capture of the Internet Archive Wayback

Machine entry for porntube.com from November 8, 2006.

       10.     Attached hereto as Exhibit 77 is a screen capture of the Internet Archive Wayback

Machine entry for porntube.com from May 15, 2007.

       11.     Attached hereto as Exhibit 78 is a document accessed from

http://www.dreamstarcash.com/wp-content/uploads/2012/03/PornTube-Guide-CPP.pdf on July

22, 2014.

       12.     Attached hereto as Exhibit 79 is a printout of the website at

http://www.dreamstarcash.com/portfolio/porntube as accessed on July 22, 2014.

       13.     Attached hereto as Exhibit 80 is a screen capture of royalporntube.com website

taken on July 22, 2014.

       14.     Attached hereto as Exhibit 81 of the Gizmodo.com article titled “The Top Ten

Most Dangerous Things You Can Do Online.”

       15.     Attached hereto as Exhibit 82 is a copy of the TESS entry for the PORNOTUBE

trademark registration.

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       16.     Attached hereto as Exhibit 83 is a screen capture of the pornotube.com website

taken on July 22, 2014.

       17.     Attached hereto as Exhibit 84 is a screen capture of the Internet Archive Wayback

Machine entry for porntube.com from February 1, 2011.

       18.     Attached hereto as Exhibit 85 is a screen capture of the Internet Archive Wayback

Machine entry for pornotube.com from March 8, 2011.

       19.     Attached hereto as Exhibit 86 is a screen capture of the Internet Archive Wayback

Machine entry for pornotube.com from March 7, 2010.

       20.     Attached hereto as Exhibit 87 is a screen capture of the Internet Archive Wayback

Machine entry for pornotube.com from July 2, 2006.

       21.     Attached hereto as Exhibit 88 is a screen capture of the Internet Archive Wayback

Machine entry for pornotube.com from July 21, 2008.

       I swear under the penalty of perjury pursuant to the laws of the United States that the

foregoing is true and correct.



Dated: July 22, 2014                                   /s/ Matthew Shayefar
                                                       Matthew Shayefar




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